                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF TENNESSEE
                               NASHVILLE DIVISION


TENNESSEE STATE CONFERENCE OF
THE N.A.A.C.P., et al.,

               Plaintiffs,

v.

TRE HARGETT, in his official capacity as
Secretary of State of the State of Tennessee,
et al.,

               Defendants.

                                                      Civil Nos. 3:19-cv-365; 3:19-cv-385
                                                      Hon. Aleta A. Trauger
LEAGUE OF WOMEN VOTERS OF
TENNESSEE, et al.,

               Plaintiffs,

v.

TRE HARGETT, et al.,

               Defendants.




          REPLY MEMORANDUM IN SUPPORT OF NAACP PLAINTIFFS’
           MOTION FOR ATTORNEYS’ FEES, COSTS, AND EXPENSES




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   I.      Plaintiffs Are Prevailing Parties.

        Defendants argue that Plaintiffs should be denied recovery under 42 U.S.C. § 1988

because Plaintiffs do not qualify as “prevailing parties.” Defendants argue that Plaintiffs did not

obtain “enduring” “court-ordered” relief, Defendants’ Response (“Response”) at 4, 7, because (i)

the “court-ordered” change in the parties’ legal relationship that Plaintiffs obtained, a

preliminary injunction, was temporary and not “enduring”; and (ii) the “enduring” change—the

repeal of the challenged statutes—was not “court-ordered” because it was undertaken

“voluntarily” by the Tennessee General Assembly. Defendants’ arguments are unpersuasive,

and do not undermine Plaintiffs’ prevailing party status. The cases Defendants rely upon are not

on point here, and Defendants all but ignore the more relevant controlling cases.

        Plaintiffs here, in obtaining a preliminary injunction expressly based on their substantial

likelihood of success on the merits, obtained significant relief that permanently altered the

parties’ legal relationship. The preliminary injunction prevented the challenged provisions from

going into effect on October 1, 2019, as scheduled, and allowed Plaintiffs to continue to engage

in voter registration activities without fear of fines or prosecution. As a result, long before the

provisions were repealed on April 2, 2020, Plaintiffs had successfully registered thousands of

Tennessee voters and gave them the opportunity to participate in the important 2020 federal and

state elections. That is enduring relief obtained by Plaintiffs solely by virtue of obtaining a

preliminary injunction, much like the protest activity permitted by this Court’s ruling in Occupy

Nashville v. Haslam, 2015 WL 4727097 (M.D. Tenn. Aug. 10, 2015).

        Moreover, Defendants’ argument that the General Assembly’s repeal of the challenged

statutes was “voluntary,” and not “court-ordered,” ignores the direct causal relationship between

this Court’s ruling and the legislative repeal. As the Sixth Circuit explained in Miller v. Caudill,




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936 F.3d 442, 448 (6th Cir. 2019), “[f]or the change [in the parties’ legal relationship] to be

‘court-ordered,’ the preliminary injunction ‘must have caused it.” And here, there was such a

causal relationship: the Defendant state officials immediately acquiesced in the Court’s order and

never sought to appeal it, and the challenged statutory provisions were repealed explicitly in

order to comply with this Court’s order. See NAACP Plaintiffs’ Mem. at 5.

       Defendants rely heavily on the Sixth Circuit’s decision in McQueary v. Conway, 614

F.3d 591 (6th Cir. 2010), but that decision merely held that the fact that the plaintiff obtained

only preliminary injunctive relief before repeal of the statute was not an absolute bar to an award

of attorneys’ fees. Instead, under McQueary, the district court has to engage in a “contextual and

case-specific inquiry,” id. at 601, which in the instant case compels the conclusion that Plaintiffs

are prevailing parties. Defendants attempt to distinguish the Sixth Circuit’s more recent decision

in Planned Parenthood Southwest Ohio Region v. DeWine, 931 F3d 530 (6th Cir. 2019), but that

decision is on point here. As in Planned Parenthood, the preliminary injunction here was based

on “an unambiguous indication of probable success on the merits,” id. at 539, the preliminary

injunctive relief was never reversed or undone, and the preliminary injunction provided plaintiffs

with significant and lasting tangible benefits while it was in effect. Id.

       Similarly, Defendants’ effort to distinguish this Court’s decision in Occupy Nashville,

Response at 9-10, is unpersuasive. Like Occupy Nashville, the preliminary injunction here was

based on the clear unconstitutionality of the state statutes, the Defendants acquiesced and never

sought to challenge the trial court’s ruling, and the Plaintiffs were able to resume their activities

without fear of arrest while the injunction remained in effect. 2015 WL 4727097 at *7.




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          Defendants also have no response to Plaintiffs’ citation of League of Women Voters of

Fla. v. Browning, 2008 WL 5733166 (S.D. Fla. Dec. 4, 2008), other than to note that it is not

controlling here and to urge the Court not to follow it. Response at 11.

          Defendants claim that Jones v. Haynes, 350 F. Supp. 3d 691 (M.D. Tenn. 2018),

supports their argument, but that case is readily distinguishable. In Jones, unlike here, the repeal

legislation was already pending before Plaintiffs made their preliminary injunction motion; the

court viewed their motion as unnecessary, since they could have simply moved to stay the case

pending the outcome of the pending legislation; and the court expressly stated that in granting

the preliminary injunction, it was not making any determination of the merits of the case, and

was simply preserving the status quo. Id. at 693-94.1

    II.      Plaintiffs’ Requested Fees are Reasonable.

          Defendants next argue that even if Plaintiffs are prevailing parties, the Court should

nevertheless reduce the fee award by 50%. Defendants offer a number of shallow and pro forma

arguments, each of which ignores the great discretion Plaintiffs’ counsel exercised in submitting

the fee request. As a threshold matter, Defendants do not dispute a key aspect of Plaintiffs’ fee

application, the hourly rates that underlie Plaintiffs’ request, nor do Defendants dispute the

conclusion, provided by Plaintiffs’ expert, that these rates are reasonable and commensurate with

Plaintiff counsel’s expertise and the magnitude of the victory obtained. See Declaration of

Wallace W. Dietz. Defendants therefore effectively concede that these rates are reasonable.



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  Defendants also claim (Response at 13) that Plaintiffs are attempting to invoke the “‘catalyst’
theory for fee recovery rejected in Buckhannon Board & Care Home, Inc. v. West Virginia
Department of Health & Human Resources, 532 U.S. 598 (2001), but that is not true. In
Buckhannon, the Court rejected a fee application where the plaintiffs had not obtained any
judicial relief at all, and the trial court had never ruled on the merits of the case. That is a far cry
from this case. Plaintiffs are not invoking the catalyst theory here as a basis for recovery.

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       The crux of Defendants’ opposition is the naked assertion that Plaintiffs “overstaffed”

this case. Response at 18. Defendants offer little to support this conclusion, citing a fleeting

comparison to a single (and factually distinct) case where “most of the work was completed by

two attorneys,” Response at 14-15. Critically, Defendants do not actually object in their Exhibit

B to any of the NAACP Plaintiffs’ time as duplicative, and instead complain only that counsel

communicated with each other. See generally Ex. B. Defendants cite no authority to support

their claim that communicating with co-counsel cannot be compensated in a fee petition, nor

does this make logical sense. And Defendants ignore that Plaintiffs’ counsel proactively deleted

from the request a substantial amount of the time originally billed to this matter. See Declaration

of Allison Holt Ryan, at ¶ 21 (noting that Hogan Lovells deleted over 40% of time recorded);

Declaration of Ezra D. Rosenberg, at ¶ 32 (noting that Lawyers’ Committee for Civil Rights

Under Law is seeking recovery for about 68% of total time expended on the case).2

       Defendants object at least 23 times that Plaintiffs’ time entries are “too vague to

meaningfully review,” and object at least 128 times to Plaintiffs’ block billing. See Response at

14, 15. But a review of the time entries in question demonstrates that they are “sufficiently

detailed to enable courts to review the reasonableness of the hours expended,” Smith v. Service

Master Corp., 592 Fed. App’x 363, 371 (6th Cir. 1990), and clearly “identify the general subject

matter of [ ] time expenditures”—all that is required here. Id.3 For example, Defendants object



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  See also Declaration of Allison Holt Ryan, at ¶ 22-23 (noting efforts to eliminate from fee
request any inefficient or duplicative time, including time rendered duplicative as a result of
working with co-counsel, including total elimination of time contributed by four attorneys and
ten support staff); Declaration of Ezra D. Rosenberg, at ¶ 38 (noting that he “eliminated
completely” from the fee request the time of several senior and junior members of the
LCCRUL’s team, and discounted other work).
3
 The court in Michigan State A. Philip Randolph Institute v. Johnson, 2019 WL 2314861 (E.D.
Mich. May 31, 2019), found block-billing to be of no consequence, because the petition
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to the following entries as either vague or impermissible block billing, all of which on their face

adequately describe the work performed:

               Worked on updating draft of NVRA letter (1.5); Scheduled calls with clients (.7);
                Meeting w Ezra to discuss next steps re PI drafting and client calls (.5); Call with
                Gloria at NAACP (1); Call with HL planning for discussion w Gloria (.1).
                Response Ex. B at 18.
               Review Supreme Court opinion on vagueness; multi emails re supplemental
                submission to court on motion to dismiss. Response Ex. B at 7.
               Draft email memorandum debriefing the Hogan Lovells's team regard telephone
                conference with C. Oliver; review further revisions to draft motions. Ex. B. at 64.
               Confer with A. Ryan and J. Charlet regarding declarations. Ex. B at 71.

         Finally, Defendants suggest that Plaintiffs cannot recover for certain “pre-litigation”

activities, such as pre-complaint interviewing of potential plaintiffs. See Response at 16-18. But

this work related directly to Plaintiffs’ legitimate litigation goals—precluding enforcement of

these laws and preparing preliminary injunction materials. First, Plaintiffs’ initial lobbying

efforts sought to convince the legislature and Defendants that the proposed provisions at the

heart of this case were unconstitutional: had Defendants heeded Plaintiffs’ early warnings, there

would have been no need for this litigation or the instant fee motion. Second, counsel’s vetting

of potential plaintiffs included intensive fact investigation necessary to prepare Plaintiffs’

affidavits for their preliminary injunction application.4

                                             Conclusion

         For the reasons stated above and in the NAACP Plaintiffs’ initial submissions, the

NAACP Plaintiffs’ fee application should be granted in its entirety.



“describe[d] the work performed in a manner that is sufficient to assess the reasonableness of the
total hours expended.” Id. at *9. So too here. See, e.g., Response Ex. B, at 2.
4
  Exhibit B also makes a number of other “objections” that are not addressed in Defendants’
brief or in Exhibit B with any explanation that would permit Plaintiffs to respond (i.e., their
broad objections to “experts” or to “excessive hours”). The Court should find that Defendants
have waived these objections.

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     Dated: January 28, 2021              Respectfully submitted,

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